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                    ATTACHMENT A
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   NELSON ESTRELLA-ROSALES and JOANN            SUPERIOR COURT OF NEW JERSEY
   ESTRELLA,                                    LAW DIVISION: MIDDLESEX COUNTY
   individually and as husband/wife             DOCKET NO: MID-L-
                                    Plaintiffs,
                                                                    CIVIL ACTION
                         v.
   TACO BELL CORPORATION;
   YUM! BRANDS INC.;
   ABC CORPORATIONS (1-10), and JOHN
   DOES 1-10 which are fictitious entities whose

                                        Defendants.


           Plaintiffs, Nelson Estrella and Joann Estrella (“plaintrfls”) by way of Complaint, say:

                                                   PARTIES

            1.     At all times relevant hereto, plaintiffs are individual persons and husband and

    wife who reside at 300 Market Street, Middlesex, New Jersey.

           2.      Defendant, Taco Bell Corporation with its principle place of business listed as 1

    Glen Bell Way, Irvine, CA 92618, a wholly owned subsidiary of Yum Brands!, is a fast food

    restaurant chain that specializes in Mexican-style fast food.

            3.     Defendant, Yum! Brands Inc. with its principle place of business listed as 1441

    Gardiner Lane, Louisville, KY 40213 is the owner/operator of the Taco Bell Corporation.
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           4.      ABC Corporations 1-10 are fictitious defendants who are entities who have yet to

   be identified by plaintiffs as defendants but whose identity as defendants may be revealed during

   the period of discovery that will occur relative to this action and who may be liable for plaintiffs’

   damages as referenced herein.        Such entities may include but are not necessarily limited to

   corporations or businesses which facilitated, assisted or benefited from in any way the

   transaction at issue involving the plaintiffs.

           5.      John Does 1-10 are fictitious defendants who are entities and/or individuals who

   have yet to be identified by plaintiffs as defendants but whose identity as defendants may be

   revealed during the period of discovery feat will occur relative to this action and who may be

    liable for plaintiffs’ damages as referenced herein. Such individuals/entities may include but are

    not necessarily limited to, salespeople, agents, managers, owners, shareholders, agents,

    independent contractors, customer service representatives, and fee like.

            6.        For brevity’s sake and where appropriate, all of the defendants referenced above

    shall hereafter be collectively referred to as Kdefendants”, “defendant sellers” or “sellers.”

            7.        Unless otherwise specified, all allegations and counts set forth below are directed

    against all defendants named herein, fictitious or otherwise.

                                                BACKGROUND

            8.        In May 2018, the defendants engaged in an extensive advertising campaign on

    television, fee internet and print, advertising the sale of “Cravings Boxes” to fee public for fee

    price of $5.00.

            9.        In May 2018, plaintiffs viewed defendants thirty-second television commercial

    commonly referred to as “The Librarian,” which clearly and unambiguously offered for sale to

    the public, Chalupa Cravings Boxes for $5.00.
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             10.   In May 2018, after having viewed die defendant's “Librarian” television

    commercial, plaintiffs were induced to travel in their personal automobile, to a Taco Bell

    restaurant located at 225-227 US Highway 22 Green Brook, N.J. at approximately 8 p.m. to

    specifically purchase two Chalupa Cravings Boxes.

             11.   After ordering two “Chalupa Cravings Boxes” plaintiffs were provided with a

    cash register receipt charging $12.18.

             12.   Plaintiffs were charged a total of $12.99, inclusive of $0.81 of N.J. sales tax, for

    tihe purchase of die two “$5 Chalupa Cravings Boxes”.

             13.   After the sales receipt was handed to the plaintiffs, they questioned the

    restaurant's management why they were charged $12.18 for two $5.00 Cravings Boxes that

    should have cost $10.00 and they were told that individual Taco Bell did not have to charge what

    was advertised and they were “covered with the legal fine print” in their advertising.

             14.   Defendants knew or should have known that die “Librarian” television advertising

    and other similar advertising would be viewed by members of the public including the plaintiffs

    and/or other prospective purchasers.

             15.   Defendants expected the “Librarian” television commercial to reach consumers,

    like the plaintiffs, and be an inducement to purchase the defendants* Cravings Boxes.

             16.   Defendants included in the advertising campaign, a disclaimer which stated that

    “prices may vary” which violated New Jersey Administrative Code N.J.A.C. 13:45A -9.2(aX5)

    and constituted a per se violation of the New Jersey Consumer Fraud Statute NJ.S.A. 56:8-1 et

    seq.

             17.   Defendants knew or should have known that the $5 price of the Cravings Boxes

    was a material issue for the plaintiffs and other similarly situated consumers.
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             18.    Defendants knew or should have known that die $5 price of the Cravings Boxes

   could not be negated with the use of legal fine print set forth in a type size and style that was

    unclear and inconspicuous relative to the other type sizes and styles used in the advertisement

    and that the use of such fine print was a violation of the consumer fraud act to bait/advertise to

    consumers.

             19.    As a result, die plaintiffs who were induced by this false and misleading

    advertisement have sustained an ascertainable loss, in die form of time wasted driving to the

    subject Taco Bell, the gasoline expended to drive their vehicle to die subject Taco Bell, and in

    the amount of $2.18, which is the difference between what they should have been charged

    ($10.00 before taxes) and what they were charged ($12.18 before taxes).1

             20.    Defendants made untrue, deceptive or misleading misrepresentations of material

    facts to and omitted and/or concealed material facts from plaintiffs regarding the price of the

    craving’s boxes in its promotional advertising campaigns.

              21.   Defendants' statements and omissions were undertaken with the intent that

    consumers would rely on such misinformation and/or omissions.

              22.   Defendants concealed and/or hid from plaintiff and other consumers facts and/or

    information resulting in an ascertainable loss to plaintiff and other consumers.

              23.   Defendants intentionally suppressed and/or hid material information in the legal

    fine print which is contrary to the New Jersey Administrative Code N.J.A.C. 13:45 A- 9.2(a)(5)

    and a per se violation of the New Jersey Consumer Fraud Statute pursuant to N.J.S.A. 56:8*1, et

     seq.



             1 Plaintiffs recognize that they also incurred damages in the amount of overpayment in
     Sales tax because of the underlying overcharge, but are not including those damages in this
     matter.
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            24.     Defendants use of misinformation and misrepresentations was motivated by a

    desire to secure increased profits.

            25.     Defendants intentionally engaged in such misconduct in order to capture the

    largest market share possible relative to the sale of its fast food.

            26.     Defendants committed conduct likely to deceive plaintiffs by engaging in acts

    and/or practices as aforesaid wife fee intent to induce plaintiffs and other consumers to purchase

    its cravings boxes.

            27.     Plaintiff reasonably relied on defendants* aforesaid misrepresentations and/or

    omissions contained on its commercial advertisements.

            28.     Defendant’s intentionally suppressed and/or hid material information resulted in

    the purchase of fee cravings boxes by fee plaintiff and other consumers resulting in an

    ascertainable loss in the form of time wasted driving to fee subject Taco Bell, the gasoline

    expended to drive their vehicle to fee subject Taco Bell, and in fee amount of $2.18.

            29.     As a result of defendants’ aforesaid misconduct, defendants sold cravings boxes

    to plaintiffs and other consumers and in return reaped huge profits therefrom.

            30.     As a result of defendants’ aforesaid misconduct, defendants have been and shall

    continue to be unjustly enriched at plaintiffs’ expense.

             31.     Defendants’ sale of the cravings boxes as aforesaid involved an unconscionable

    commercial practice, deception, fraud, false pretense, false promise or misrepresentation against

    plaintiffs.

             32.     Defendants knowingly concealed, suppressed or omitted a material fact and/or

     facts from plaintiffs wife intent that plaintiffs rely upon same as aforesaid.
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            33.    Prior to filing suit and via their counsel, plaintiffs served defendants with a

   demand to be made whole and cease their deceptive and fraudulent marketing campaign, but

   defendants failed to comply with said demand.

            34.    As a direct and proximate result of such misconduct, to date, plaintiff incurred

   losses relative to defendants' misconduct in the form of time wasted driving to the subject Taco

   Bell, the gasoline expended to drive their vehicle to the subject Taco Bell, and in the amount of

   $2.18.

            35.    Plaintiffs retained an attorneys and bring this action to recover damages

    associated with the aforesaid misconduct.

                                                 COUNTI

                           VIOLATION OF THE NEW JERSEY
                   ADMINISTRATIVE COPE - ADVERTISING PRACTICES
            & PER SE VIOLATION OF THE NEW JERSEY CONSUMER FRAUD ACT

            36.     Plaintiffs repeat all of the allegations contained in the previous paragraphs as if

    fully set forth herein.

            37.     This count is directed against all defendants.

            38.     Plaintiffs are “persons” as defined by NJ.S.A. 56:8-1 (d).

            39.     Defendants are “persons” as defined by NJ.S.A. 56:8-l(d).

            40.     Defendants’ advertising of the cravings boxes constituted an “advertisement” as

    defined by N.J.S.A. 56:8-l(a).

            41.     Defendant's sale of cravings boxes are “merchandise” as defined by N.J.S.A.

    56:8-l(c).

            42.     The sale of tire cravings boxes to plaintiffs by defendants was a “sale” as defined

    by N.J.S A. 56:8-l(e).
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          43.     Accordingly, under the facts alleged in this complaint, plaintiffs are consumers

   entitled to the protection and remedies provided for by N.J.S.A. 56:8-1, et seq.

           44.    Pursuant to New Jersey Administrative Code NJ.A.C. 13:45 A -9.2(a)(5) it is a

   per se violation of the New Jersey Consumer Fraud Statute to “use of anv type, size, location.

   lighting, illustration, graphic depiction or color resulting m the obscuring of any material

   fact. Disclaimers permitted or required under this section, such as "terms and conditions apply”

   and "quantities limited," shall be set forth in a type size and style that is clear and

   conspicuous relative to the other type sizes and styles used in the advertisement.

           45.    Defendants knowingly concealed, suppressed or omitted material facts in its

   advertising from plaintiffs with intent that plaintiffs rely upon same. Specifically, defendants

   advertising campaign clearly and unambiguously advertised on television, internet and in print,

   in large bold lettering “$5 Craving Box”.

           46.     Despite the clear and unambiguous advertisement that customers could obtain a

    “$5 Craving Box,” defendants committed a per se violation of the consumer fraud act by

   negating the offer by reference to the fine print by stating “prices may vary.”

           47.     Defendants unlawfully obscured a material fact (i.e. the price of the product) by

    utilising a disclaimer in a type size and style that was obviously not clear and conspicuous

    relative to the other type sizes and styles utilized in die advertisement violated the New Jersey

    Administrative CodeN.JA.C. 13:45 A -92(a)(5) andN.J.S.A. 56:8-1, et seq.

           48.     Defendants $5 price designation is set forth in the middle of the commercial

    advertisement in type print which is 2 inches in height by 1.5 inches.

           49.     Defendants disclaimer “prices may vary” is located at die bottom of die

    commercial advertisement in type print 1/8 of an inch in height by 1/16 of an inch in width,
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    which violates the New Jersey Administrative Code N.J.A.C. 13:45 A -9.2(aX5) and N.J.S.A.

    56:8-1, etseq.

           50.       Defendants intentional choice of type set for its price disclaimer is 1/16 die height

    and 1/24 the width of the size of the type set chosen for the $5 price inducement, which violates

    the New Jersey Administrative Code N.JA.C. 13:45 A -9.2(a)(5) and N.J.S.A.            56:8-1, et seq.

           51.       Defendants $5 price designation is prominently displayed throughout die 30

    second television commercial and in the middle of die screen.

           52.       Defendants price disclaimer, that “prices may vary”, is visible for only 3 seconds

    of the 30 second television commercial at the bottom of the screen which violate the New Jersey

    Administrative Code N.J.A.C. 13:45 A -9.2(a)(5) and N.J.S.A. 56:8-1, et seq.

           53.       Defendants $5 price designation is portrayed in bright yellow against a black

    background.

            54.      Defendants price disclaimer, that “prices may vary,” is portrayed in a light white

    color against a light grey background which violates die New Jersey Administrative Code

    N.J.A.C. 13:45 A-9.2(a)(5) and N.J.S A. 56:8-1, et seq.

            55.      Defendants price disclaimer, that “prices may vary,” is not conspicuous “relative

    to the other type sizes and styles utilized in the advertisement” and violates die New Jersey

    Administrative Code N.J.A.C. 13:45 A-9.2(a)(5) andN.J.S.A. 56:8-1, et seq.

            56.      Defendants engaged in an unconscionable commercial practice, deception, fraud,

    false pretense, false promise or misrepresentation against plaintiffs.

            57.      The aforesaid misrepresentations were material to the transactions) at issue.

            58.      Defendants knowingly concealed, suppressed or omitted a material feet from

    plaintiffs with intent that plaintiffs rely upon same.
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            59.    Plaintiffs in fact reasonably relied upon the aforesaid concealment and/or

    omissions of material fact to plaintiffs’ detriment.

           60.     Said misconduct also constitutes a violation ofN.J.SA. 2C:21-8, which provides

    further evidence that said defendants committed an unlawful practice constituting a violation of

    N.J.SA. 56:8-2.

            61.    As a result of defendants’ aforesaid misconduct, plaintiffs sustained an

    ascertainable loss capable of being calculated with a reasonable degree of certainty.

            62.    In light of the aforesaid, said defendants and/or their employees and/or servants

    and/or agents violated N.J.S.A. 56:8-1, et seq.

            63.     Prior to filing suit, plaintiffs propounded a demand upon the defendants named

    herein to make plaintiffs whole and cease their deceptive and fraudulent marketing but

    defendants refused to comply.

            64.     As set forth on foe certification(s) annexed to this pleading, plaintiffs complied

    with foe requirements of N.J.S.A. 56:8-20, et seq.

            65.     Plaintiffs bring this action pursuant to N.J.S.A. 56:8-19 and in accordance

    therewith, seek statutory treble damages, attorney’s fees, filing fees and corn! costs.

            WHEREFORE, plaintiffs demand judgment against all defendants named to this count

    jointly and/or severally for: (1) Compensatory damages; (2) The remedies provided for under

    any state and/or federal statutes pled herein, including but not limited to treble damages pursuant

     to N.J.S.A. 56:8-19, recovery of ascertainable losses for loss of money and/or property pursuant

     to NJ.S.A. 56:8-19, a refund of all moneys acquired by means of any practice declared unlawful

     as permitted by NJ.S.A. 56:8-2.11-12, all statutory/equitable remedies afforded by N.J.S.A.

     56:8-1, et seq. and/or the remedies afforded fraud victims under foe common law and/or pursuant
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    to NJ.S.A. 2A:32-1, et seq.; (3) Any other applicable consequential, incidental, nominal and

    expectation damages; and (4) Lawful interest, attorney’s fees, costs and such other and further

    relief as the court shall deem equitable and just.

                                                 COUNT n

             COMMISSION OF COMMON LAW LEGAL AND EQUITABLE FRAUD

            66.     Plaintiffs repeat all of the allegations contained in the previous paragraphs as if

    fully set forth herein.

            67.     This count is directed against all defendants.

            68.     Defendants made certain misrepresentations and/or omissions of presently

    existing or past fact material feet to plaintiffs with regard to the contract and/or the transaction.

            69.     Specifically, those misrepresentations included, but are not necessarily limited to,

    the price of the cravings boxes.

            70.     Defendants knew or should have known that the aforesaid representations were

    false and/or inaccurate.

            71.     Defendants knew that omissions of material fact were made relative to the

    contract and/or transaction.

            72.     Defendants made the aforesaid misrepresentations and/or omissions of material

    feet knowingly and/or willfully, with knowledge and/or belief of the falsity of the

    misrepresentations and/or omissions at issue.

             73.     Defendants made the aforesaid misrepresentations and/or omissions of material

    fact with the intent to mislead plaintiffs or with reckless disregard for truth and/or accuracy.

             74.     At all times relevant to the events set forth herein, defendants acted knowingly

    with the intent to cause plaintiffs’ reliance thereon.
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            75.     The aforesaid misrepresentations and/or omissions of material fact were material

    to the contract and/or transaction at issue.

            76.     Plaintiffs in fact reasonably relied upon the aforesaid misrepresentations and/or

    omissions of material fact to plaintiffs’ detriment.

            77.     As a result of defendants’ conduct, plaintiffs suffered damages.

            78.     Said conduct on defendants’ part constitutes the commission of legal and/or

    equitable fraud against plaintiffs.

            79.     Defendants’ conduct as aforesaid was wanton and/or reckless and/or willful

    and/or outrageous and intentional and thus, plaintiffs submit that said misconduct entitles

    plaintiffs to an award of punitive damages.

            WHEREFORE, plaintiffs demand judgment against all defendants named to this count

    jointly and/or severally for: (1) Compensatory damages; (2) The remedies provided for under

    any state and/or federal statutes pled herein, including but not limited to treble damages pursuant

    to N.J.S.A. 56:8-19, recovery of ascertainable losses for loss of money and/or property pursuant

    to N.J.S.A. 56:8-19, a refund of all moneys acquired by means of any practice declared unlawful

    as permitted by N.J.S.A. 56:8-2.11-12, all statutory/equitable remedies afforded by N.J.S.A.

     56:8-1, et seq. and/or the remedies afforded fraud victims under the common law and/or pursuant

     to N.J.S.A. 2A:32-1, et seq.; (3) Any other applicable consequential, incidental, nominal and

     expectation damages; and (4) Lawful interest, attorney’s fees, costs and such other and further

     relief as the court shall deem equitable and just.

                                       DEMAND FOR JURY TRIAL

             Plaintiffs hereby demand a trial by jury as to all issues raised herein.
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                               DESIGNATION OF TRIAL COUNSEL

            Pursuant to Rule 4:25-4, DOUGLAS S. SCHWARTZ, Esq. is designated as trial counsel

    in this matter.

                       NOTICE PURSUANT TO R. l:5-l(a) AND R. 4:lM(c)

            Take notice that, pursuant to Rule l:5-l(a) and 4:18-4(c), plaintiffs hereby demand that

    each party named in the complaint that serves or receives pleadings of any nature (including

    discovery requests) to or from any other party to the action, forward copies of same along with

    any documents provided in answer or response thereto to counsel for plaintiffs and take notice

    that this is a continuing demand.
                                                SISSEJLM^r&^CHWARTZ, LLP

    Dated: August 12,2019                By:       /                   __________
                                                 DOUGLA^rf. SCHWARTZ
                                                 Kttomey^mr Plaintiff

                                                 Matthew R. Mendelsohn
                                                 MAZIE SLATER KATZ & FREEMAN, LLC
                                                 103 Eisenhower Parkway
                                                 Roseland, New Jersey 07068
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                    CERTIFICATION OF COMPLIANCE WITH RULE 1:38-7(C)

            I certify that confidential personal identifiers have been redacted from documents now

    submitted to the court, and will be redacted from all documents submitted in the future in

    accordance with Rule 1:38-7(b).

                             CERTIFICATION PURSUANT TO R. 4:5-1

            The undersigned certifies that, upon their initial review of this matter, the matters in

    controversy in this action are not the subject of any other action pending in any other court or of

    a pending arbitration proceeding, that no other action or arbitration proceeding is currently

    contemplated and that they are unaware of any other parties who currently should be joined to

    this action.

                   CERTIFICATION OF SERVICE PURSUANT TO N.J.S.A. 56-8:20

            As required by N.J.S.A. 56-8:20, the undersigned hereby certifies that on the below

    referenced date they caused a copy of the complaint to be served upon die following offices via

    first class United States Mail, postage prepaid:

            Office of the Attorney General
            Richard J. Hughes Justice Complex,
            P.O. Box 80, Trenton, NJ, 08625-0080.

            1 certify that the foregoing information in this certification is true and correct and if any

    of such information is willfully false, that I am subject to punishment
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                           Civil Case Information Statement


   Case Caption: ESTRELLA-ROSALES NELSON VS TACO           Case Type: TORT-OTHER
   BEU CORPORATE                                           Document Type: Complaint with Jury Demand
   Case Initiation Date: 08/19/2019                        Jury Demand: YES • 6 JURORS
   Attorney Name: DOUGLAS S SCHWARTZ                       Is this a professional malpractice case? NO
   Flint Name: SISSELMAN & SCHWARTZ. LLP                   Related cases pending: NO
   Address: 75 LIVINGSTON AVE                              If yes, list docket numbers:
   ROSELAND NJ 07068                                       Do you anticipate adding any parties (arising out of same
   Phone: 9735330770                                       transaction or occurrence)? NO
   Name of Party: PLAINTIFF: Estrella-Rosales, Nelson
   Name of Defendant's Primary Insurance Company
   (if known): Unknown




    Do parties have a current, past, or recurrent relationship? NO
    If yes, is that relationship:
    Does the statute governing this case provide for payment of fees by the losing party? NO
    Use this space to alert the court to any special case characteristics that may warrant individual
    management or accelerated disposition:



    Do you or your client need any disability accommodations? NO
            If yes, please identify the requested accommodation:



     Will an interpreter be needed? NO
              If yes, for what language:


     Pleaae check off each applicable category: Putative Class Action? NO          Title 69? NO




     I certify that confidential personal identifiers have been redacted from documents now submitted to the
     court, and will be redacted from ail documents submitted in the future in accordance with Rule 1:38-7(b)

     08/15/2019                                                                       /s/DOUGLASS SCHWARTZ
     Dated                                                                                            Signed
